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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA       ) Case No. 1:08-cr-201 OWW
                                    )
12                  Plaintiff,      ) STIPULATION AND
                                    ) ORDER FOR CONTINUANCE
13               v.                 )
                                    )
14   PETER HALAMANDARIS,            )
                                    )
15                  Defendant.      )
     _______________________________)
16
17        IT IS HEREBY STIPULATED by and between Lawrence G. Brown,
18   Acting United States Attorney and Kimberly A. Sanchez, Assistant
19   U.S. Attorney and J.M. Irigoyen, attorney for the defendant, that
20   the evidentiary hearing on defendant’s pre-trial release
21   violation currently set for June 26, 2009 at 1:30 p.m. to be
22   continued to July 1, 2009 at 1:30      p.m.
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 1   Dated: June 26, 2009                Respectfully submitted,
 2                                       LAWRENCE G. BROWN
                                         Acting United States Attorney
 3
 4                                 By     /s/ Kimberly A. Sanchez
                                         KIMBERLY A. SANCHEZ
 5                                       Assistant U.S. Attorney
 6   Dated: June 26, 2009                 /s/ J.M. Irigoyen
                                         J.M. IRIGOYEN
 7                                       Attorney for Peter Halamandaris
 8        IT IS SO ORDERED.
 9
     Dated:      June 26, 2009              /s/ Gary S. Austin
10                                       THE HONORABLE GARY S. AUSTIN
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